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                              THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


 ROBERT BYRON,
                                                       ORDER GRANTING PLAINTIFF’S
          Plaintiff,                                   MOTION FOR LEAVE TO FILE
                                                       UNDER SEAL
 vs.
                                                       Case No. 2:20-cv-00290-DBB-DAO
 UNIVERSITY OF UTAH,
 LORI MCDONALD, in her official capacity,              Judge David Barlow
 and RUTH WAKINS, in her official capacity,            Magistrate Judge Daphne Oberg

         Defendants.


           The Court has considered Plaintiff’s motion for leave to file his memorandum

 in opposition to Defendants’ motion for summary judgment under seal.1 The Court

 concludes that Plaintiff’s memorandum and supporting exhibits contain private and sensitive

 information that is properly filed under seal, and good cause exists to permit the motion to

 be filed under seal. Plaintiff’s motion is granted.

           IT IS HEREBY ORDERED that Plaintiff is granted leave to file his memorandum in

 opposition to Defendants’ motion for summary judgment and the exhibits in support thereof

 under seal in accordance with the procedures set forth in DUCivR 5-3.

           Signed: September 28, 2021.

                                               BY THE COURT:


                                               ____________________________
                                               David Barlow
                                               United States District Judge

 1
     See ECF Nos. 72 and 73
